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                                                        IN THE UNITED STATES DISTRICT COURT
                                                        FOR THE DISTRICT OF MARYLAND

                         UNIT ED STATES OF AMERICA                       *
                                                                         *
                                \'.                                      *        CRIMINAL NO. GJH-16-224
                                                                         *                     GJH-16-225
                         ,JAMES C. STEWART. III.                         *
                         VI~CE:\'T A. GRANT,                             *
                                                                         *
                                      Defendants.                        *
                                                                         *
                                                                     ••• **,..*
                                                                VERDICT FORM

                                                                 COUNT ONE

                                  I,    H.:Jwdo YOLI find the defendant. James C. Stewart. 1lI. as to COUNT ONE of the
                         Indicllnent (Conspiracy to Commit Wire Fraud)'!


                                      Guilty        /                                1\:ot Guilty       _




                                                                COUNT TWO

                                 ~      How do you find the delendant. James C. Stewart. III. as to COUNT TWO of the
                         Indictment (Wire Fraud)?


                                      Guilty   /                                    Nol Guilty'             _



                                                                COUNT THREE

                                 3.     How do you find the defendant. James C. Stewart. III. as to COUNT THREE of
                         the Indicunent (Wire Fraud)?


                                      Guilty       /                                Not Guill)'     _
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                                     COUNT FOUR


       4.     How do you lind the defendant. James C. Stewart. III. as to COUNT FOUR of the
Indictment (Aggravated Identity Theft)?

             GUilty       / __                          Not Guilty           _



                                      COUNT FIVE


        5.     How do you find the defendant, Vincent Anthony Grant. as to COUNT FIVE of
the Indictment (Conspiracy to Commit Access Device Fraud)?


             Guilty                                     Not Guilty           _



                                      COUNT SIX


       6.     How do you find the defendant. Vincent Anthony Grant. as to COUNT SIX of the
Indictment (Aggravated Identity Theli)?


             Guilty                                    Not Guilt),       _



 THE FOREGOING CONSTITUTES THE UNANIMOUS VERDICT OF THE JURY,


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      Date
                                                  SIGNATURE REDACTED
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